e:SENDER:
   1:21-cv-00016-MWM      Doc #: 12 Filed:COMPLETE
          COMPLETE THIS SECTION
                                            01/22/21    Page: 1 of 3 PAGEID #:
                                                   THIS SECTION ON DELIVEPy

 • Complete Items 1,2, and 3.                            A. Signature                        /
                                                                                                            DAgent
 • Print your name and address on the reverse
    so that we can return the card to you.               * (      ---tC ly / C/^                 ' ^        • Addressee
 • Attach this card to the back of the mailplero,        B.^^e^ved t>y [PrinfecfAfameJ                 C. Date of Delivery

    or on the front ifspace permits.           C/11/
 1. Article Addressed to;                                D. Isdeliveryaddressdifferentfromlteml? • Yes
 THE HACKETT GROUP, INC.                                     If YES, enter delivery address below;          •   No
 SERVE: CORPORATE CREATIONS
 NETWORK, INC.
 119E. COURT STREET
 CINCINNATI, OH 45202

                                                       3. Service Type                           OPriaillyMi^lExcresse

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 PS Form 3811, July2015 PSN 7530-02-000-9053                                                 Domestic Return Receipt
e: 1:21-cv-00016-MWM   Doc #: 12 Filed: 01/22/21 Page: 2 of 3 PAGEID #:
              USPSTHACKMG#

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                    ? ^Men Please print your name, address, and

                        ^fflce ofthe Clerk
                    2 ^ ignited Slates District Court
                    •C V —
                   •—tj   i^otter Siewarl U.S. Courthouse
                          300 East Fifth Street, Room 103
                          Cinoinnati, Ohio 45202
USPS.com®- USPS Tracking®Results
             Case:                                      https://tools.usps.com/go/TrackConfiraiAction?q(c_tLabels1=701.
                    1:21-cv-00016-MWM Doc #: 12 Filed: 01/22/21     Page: 3 of 3 PAGEID #: 320


             ALERT: USPS IS EXPERIENCING UNPRECEDENTED VOLUME INCREASES AND UMITE...


                                                                                                        FAQs >
         USPS Tracking

                                           Track Another Package +

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                                                                                Anytime, Anywhere

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                  Your item was delivered to the front desk, reception area, or mall room at
                  12:40 pm on January 16,2021 in CINCINNATI, OH 45202.




                        Delivered
                  January 16,2021 at 12:40 pm
                  Delivered, Front Desk/Reception/Mail Room
                  CINaNNATI. OH 45202

                  Get Updates \/




                     Text & Email Updates


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                     Tracldng History


                     Product Information




lof2                                                                                                      1/22/2021,3:23 PM
